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 AO 93 (Rev. 12/09) Search and Seizure Warrant



                                       UNITED STATES DISTRICT COURT
                                                                     for the
                                                           District of Massachusetts

                    In the Matter of the Search of                         )
               (Briefly describe the property to be searched               )
                or identifY the person by name and address)                ) Case No.    fJ -nT- ~).)1 ~ P11J~
                                                                           )
Information Associated with the Google E-mail accounts
   tsar1jahar@gmail.com and jahar1tsar@gmail.com,
                                                                           )
    stored on the premises controlled by Google, Inc.                      )

                                                 SEARCH AND SEIZURE WARRANT
To:        Any authorized law enforcement officer

          An application by a federal law enforcement officer or an attomey for the government requests the search
 of the following person or property located in the ~~Northern~~· District of                      California
 (identifY the person or describe the property to be sem·ched and give its location):
  nformation associated with the Google E-mail accounts tsar1jahar@gmail.com and jahar1tsar@gmail.com, stored on
  the premises of Google, inc., as further described in Attachment A.

           The person or property to be searched, described above, is believed to conceal (identifY the person or describe the
property to be seized):
                                                               See Attachment G.



        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

           YOU ARE COMMANDED to execute this warrant on or before                          ~ .. _ _ ____,.I_Llly 17, 2Q,-:'-1=3-=----~
                                                                                                      (lwt to exceed 14 days)
       0 in the daytime 6:00a.m. to 10 p.m.                    !if at any time in the day or night as I find reasonable cause has been
                                                                  established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the propetty was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
 Marianne B. Bowler




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AO 93 (Rev. I 2109) Search and Seizure War-rani (Page 2)

                                                                Return
Case No.:                               Date and time warrant executed:       Copy of warrant and inventoty left with:

Inventory made in the presence of:

Inventmy of the property taken and name of any person(s) seized:




                                                              Certification


       I declare under penalty ofperjwy that this inventory is correct and was returned along with the original
warrant to the designated judge.



Date:   ----------------~
                                                                                    Executing officer's signature


                                                                                       Printed name and title




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                                     ATTACHMENT A

                                  Property to Be Searched

        The place to be searched is computer servers and records which are owned} maintained,
controlled} or operated by Google Inc.} located at 1600 Amphitheatre Parkway} Mountain View,
California} related to the Google ewmail accounts tsarljahar@gmail.com and
jaharltsar@gmail.com (hereinafter the "Target Gmail Accounts")




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                                       ATTACHMENT G

               Particular Things to be Seized From the Target Gmail Accounts

   I.       Information to be Disclosed by Google Inc. and Procedures to be Followed

        Pursuant to 18 U.S.C. § 2703, Google Inc. (hereinafter "Google"), a provider of
electronic communication and remote computing services, located at 1600 Amphitheatre
Parkway, Mountain View, California, is hereby ordered to disclose to the government, the
following information associated with the Target Gmail Accounts listed in Attachment A.

        1. The contents of all electronic mail, including: sent e-mail, received e-mail,
        opened e-mail, unopened e-mail, deleted e-mail, and draft e-mail, including all
        headers and footers, if available, and all attachments, including videos, computer
        files, and files sent to and received from other websites, if applicable, stored,
        retained or presently contained in, or on behalf of, or otherwise associated with,
        the Target Gmail Accounts, including any data preserved or retained by Google in
        whatever form or file.

        2. All records or other infonnation regarding the identification of the Target
        Gmail Accounts, to include: full name; physical address; telephone numbers and
        other identifiers; records of session times and durations; method of connection to
        the ISP or to services provided by the ISP; any address used in connection with
        the account; the date on which the account was created; the length of service; the
        types of service utilized; the IP address used to register the account; log-in IP
        addresses associated with session times and dates; account status; alternative e-
        mail addresses; methods of connecting; log files; and means and sources of
        payment (including any credit or bank account number).

        3. All records or other inf01mation stored by an individual using the Target
        Gmail Accounts, including address books, friends, contacts and buddy lists,
        calendar data, documents, pictures, group affiliations, message board usage,
        message board posting, mini-feeds, status update histories, shares, notes, wall
        postings, future and past events invited to or hosted, private messages, instant
        messages, personal web space, and other files.

        4. All records pertaining to communications between Google and any person
        regarding the Target Gmail Accounts, including contacts with support services
        and records of actions taken; and

        5. All records indicating the services used by subscribers of the Target Gmail
        Accounts, including instant messaging services, geo-location services, alerts, and
        adve1tising services.

        6. Any search queries or cookies accumulated as a result of any Google service.




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         7. Method and details of any payments, including credit card numbers used.

         B. Google shall deliver the information set forth above in electronic form, on CD-ROM
or an equivalent electronic medium, to:

                 SPECIAL AGENT Christian Fierabend
                 Federal Bureau oflnvestigation
                 One Center Plaza} Suite 600
                 Boston, Massachusetts 02108
                 Direct: (617) 892-2848
                 Christian.Fierabend@ic. tbi. gov

       C. Google shall not notify any other person, including the subscriber of the Target
Account, of the existence of the warrant.
       D. Pursuant to 18 U.S.C. § 2703(g) the presence of an agent is not required for service or
execution of this warrant.

   II.      Information to be seized by the government

        All infotmation described above in Section I that constitutes evidence related to
violations of 18 U.S.C. §§ 2332a (Using and Conspiring to Use Weapons of Mass Destruction),
844(i) (Malicious Destruction of Property by Means of an Explosive Device Resulting in Death),
2119 (Carjacking), 1951 (Interference with Commerce by Violence), 924(c) (Use of a Firearm
During a Crime of Violence) and 371 (Conspiracy to Commit Offenses), including:

            a. Information related to the identity of Dzhokhar Tsarnaev ("Dzhokhar") or
               Tamerlan Tsamaev ("Tamerlan");
            b. The Boston Marathon, explosives, bombs, the making of improvised explosive
               devices, firearms, and potential people and places against which to use firearms}
               explosives or other destructive devices;
            c. The investigation into the two explosions that occurred on April 15, 2013 in
               Boston during the Boston Marathon and a subsequent shootout that occmTed on
               April18-19, 2013 in Cambridge and Watertown, Massachusetts.
            d. Information related to the travel schedule, travel documents, or locations visited
               by Dzhokhar and Tamerlan;
            e. Communications between and among Dzhokhar, Tamerlan, and other possible co-
               conspirators;
            f.   The identity, and travel of any co-conspirators, as well as any co-conspirators'
                 acts taken in furtherance of the crimes listed above;




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          g. Information related to any plans to initiate or carry out any other attacks inside or
             outside the United States, or any records or information related to any past
             attacks;
          h. Information related to the state of mind and/or motive of Dzhokhar and TamerIan
             to undertake the Boston Marathon bombings;
          1.   Information related to the identity of any individuals who were in contact with, or
               were associates of Dzhokhar and Tamerlan;
          j.   Information, related to any organization, entity, or individual in any way affiliated
               with Dzhokhar and Tamerlan, that might have been involved in planning,
               encouraging, promoting the actions described herein;
          k. For the Target Gmail Accounts called for by this warrant:
                          1. Evidence of who used, owned, or controlled the Target Gmail
                             Accounts;
                          2. Evidence of malicious computer software that would allow others
                             to control the Target Gmail Accounts, evidence of the lack of such
                             malicious software, and evidence of the presence or absence of
                             security software designed to detect malicious software;
                          3. Evidence of the attachment of other computer hardware or storage
                             media;
                          4. Evidence of counter-forensic programs and associated data that are
                             designed to eliminate data;
                          5. Evidence of the times the Target Gmail Accounts were accessed;
                          6. Evidence of the times items were modified or deleted on the Target
                             Gmail Accounts;
                          7. Passwords, encryption keys, and other access devices that may be
                             necessary to access the computer equipment;
                          8. Records and tangible objects pertaining to accounts held with
                             companies providing Internet access or remote storage of either
                             data or storage media; and
          1. Records relating to who created, used, or communicated with the account or
             identifier, including records about their identities and whereabouts.




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